Case 3:24-cv-00623-JWD-SDJ Document 19-5 09/13/24 Pagelof5

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF LOUISIANA

DEEP SOUTH TODAY, d/b/a VERITE
NEWS, GANNETT CO., INC., GRAY
LOCAL MEDIA, INC., NEXSTAR CASE NO. 3:24-cv-00623-RLB-SDJ
MEDIA, INC., SCRIPPS MEDIA INC.,
and TEGNA INC.,

Plaintiffs,
Vv.

LIZ MURRILL, in her official capacity
as Attorney General of Louisiana,
ROBERT P. HODGES, in his official
capacity as Superintendent of the
Louisiana State Police, and HILLAR C.
MOORE, III, in his official capacity as
District Attorney of East Baton Rouge
Parish,

Defendants.

DECLARATION OF PATRICK THOMAS

I, Patrick Thomas, declare as follows:

1. [am over the age of 18. I make this declaration in support of
Plaintiffs’ Motion for Preliminary Injunction in the above-captioned matter. I have
personal knowledge of the matters stated herein.

2. Iam the Chief Photographer at WGNO in the New Orleans, Louisiana

area, a broadcast television station owned by Nexstar Media, Inc. I have been in
Case 3:24-cv-00623-JWD-SDJ Document 19-5 09/13/24 Page2of5

my current role since November 2005. Before joining WGNO, I worked as a news
photographer at two other stations in Lafayette: KLFY and KATC.

3. As Chief Photographer at WGNO, my work is a mix of supervising
other journalists and going out into the field myself. I supervise nine people—
including news photographers, editors, and news center operators.

4. I personally come into contact with law enforcement officers on the
job frequently—at least once a month—usually when covering a crime scene or a
press conference. I also come into close contact with officers when covering
events with big crowds where officers are present for crowd control, like Mardi
Gras, Jazz Fest, and other parades or protests.

3. When I encounter officers, I typically need to be pretty close to them
to do my job—usually about 5 to 10 feet away. When there are many officers at a
scene, I would struggle not to be within twenty-five feet of at least one officer.

6. In my experience, officers sometimes ask reporters to move away
from a scene to stop us from capturing audio or video they don’t want made public.

7. For example, in mid-July, I was covering a crash scene in Jefferson
Parish where police chased a suspect and ran the suspect off the road. By the time
I arrived, the police were putting the suspect in an ambulance. The suspect was
saying something about the police officers, and I got closer to try to hear what was

being said.
Case 3:24-cv-00623-JWD-SDJ Document 19-5 09/13/24 Page3of5

8. I was standing about five from the officers when I heard the suspect
say that he had been punched in the mouth and tased six times, that he was a
businessman just trying to collect scooters, and that “not all Jefferson Parish
officers are bad officers, just that one.” I could not tell from the context which
officer the suspect was referring to.

2. An officer then came over and told me and another journalist from a
different station to move back.

10. We both stepped back several feet, but the officer then asked us to
move across the street on the other side of an active lane of traffic. I was reluctant
to cross, including out of concern for my own safety, but the officer was insistent.
He kept telling me over and over again to cross the street, even though I was not
interfering with anything that was happening at the scene and he never suggested
that I was.

11. From what I could tell, it seemed like I was being ordered to move
back because the officer had a negative reaction to the suspect’s criticism.

12. The officer seemed ready to arrest me if he could find a reason to.
But I have been in this job for twenty years, and I know how to cover crime scenes
without interfering with the activities of law enforcement. I knew that I was

already far enough away and not doing anything to hamper the investigation.
Case 3:24-cv-00623-JWD-SDJ Document 19-5 09/13/24 Page4of5

13. If HB 173 was in effect when this happened, though, I would have
been forced to comply rather than keep gathering the news.

14. I have a SONY camera and a decent microphone that I carry around
with me when I’m in the field, and it would be challenging for me to capture
usable audio and video for broadcast if I were twenty-five feet away from my
subject. To record audio of an ordinary conversation, you need to be at least
within ten to fifteen feet, often closer depending on the situation and the
background noise.

15. I would also struggle to comply with an order to stay back twenty-five
feet in practice, since it is hard for me to determine how long of a distance that
would be in the field. When our newsroom heard about HB 173, I had our
engineering team measure out twenty-five feet for me aud I was stunned at what a
long distance it was.

16. I would likewise have trouble complying if multiple officers enforced
HB 173 against me at once, or if the officers themselves were moving. I am not
sure whether I would have to keep backing up if an officer continued coming
closer tome. And the problem would be especially nerve-wracking in a large
crowd, where it would be challenging to comply without obstructing my view of

the officer and my ability to report on the officer’s actions.
Case 3:24-cv-00623-JWD-SDJ Document 19-5 09/13/24 Page5of5

17. I always try to abide by orders from law enforcement, but I also know
my rights; I know that I am allowed to record what an officer is doing so long as I
am not interfering or impeding their active investigation. If HB 173 is allowed to
go into effect, it will make my job more dangerous. Covering law enforcement
requires getting close to see and hear what is going on. I cannot do that safely if I
am confronting the risk of arrest when gathering news that the public has the right
to see.

I declare under penalty of perjury that the foregoing is true and correct.

lana.

Executed on August {3 , 2024 in New Orleans, “Y
‘ih Sthann/

Patrick Thomas

Prepared by:

Katie Townsend

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